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5 Attorne for P`laintiff
SCRIP Al\/.[ERICA, INC.
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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
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11 SCRIPSAMERICA, INC.,
12 Plaintiff,
1 COMPLAIN l FOR
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14 (1) SECURITIES FRAUD
(2) BREACH OF CONTRACT
15 VS.
6 (3) TORTIOUS BA]) FAITH
1 .
(4) DECLARATORY RELIEF
17
18 IRONRIDGE GLOBA.L LLC dfb/a
IRONRIDGE GLOBAL IV, LTD.
19 JOI-]N KIRKLAND
BRENDAN o’NEnlL
20 and DOES NOS. 1-5
21 Defendants.
22
23 Plaintiff SCRIPSAMERICA, INC. sues IRONR]DGE GLOBAL LLC,
24 JOHN KIRKLAND, and BRENDAN O’NEILL as Set forth herein and alleges:
25 1. This case arises from a daudulent scheme by Defendant IRONR]]JGE
26 GLOBAL LLC (“IRONRIDGE”) and its agents and control persons JOHN
27 KIRKLAND (“KIRKLAND”) and BRENDAN O’NEILL (‘5O’NE]LL”) to acquire
23 stock of Plaintiff through a B'audulent and deceptive scheme, in Which Plaintiff
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agreed to provide a certain value of stock as consideration to IRONRII)GE under a
formula based on Plaintiff’s stock price. In order to enrich itself at the expense of
Plaintiff and its shareholders, and using a manipulative and deceptive device and
contrivance, lRONRIDGE Willfully and knowingly artificially manipulated the
market price of Plaintiff’s stock by dumping shares in order to increase its
ownership share in Plaintiff, contrary to its representations to Plaintiff. By
engaging in such conduct, IRONRIDGE and its Defendant directors violated
Section 10(b) of the Securities Exchange Act of 1934, 15 U.S.C. 78j(b), and rule
10b-5 thereunder, 17 C.F.R.. §240.10b-5. The Defendants’ tortious misconduct
further violated applicable provisions of state law.
SUBJECT MATTER JURISDICTION AND VENUE

2 This Court has federal question subject matter jurisdiction over this
case under 15 U.S.C. § 7 Saa (eXclusive jurisdiction in federal court for actions
based on alleged violation of SEC Rule 10b-5). Under 28 U.S.C § 1367, this Court
has supplemental jurisdiction over state law claims asserted herein

3. Venue in this Court is proper under 28 U.S.C. § 1391(b)(1) and (2). A
substantial part of the acts and omissions giving rise to the claim occurred in this
district IRONRIDGE is a resident of this district for venue purposes, as it is
subject to personal jurisdiction in this district by reason of, among other tbings, its
substantial and ongoing activities in this district, including its maintenance cfa
permanent office in Los Angeles for the conducting of its business Defendant
KIRKLAND, on information and belief, is also a resident of this district for venue
purposes as he Worl<s out of ]IRONRlDGE’s Los Angeles office per the
IRONRIDGE Website. Defendant O’NE]LL is listed as Worl<ing from
lRONR[DGE’s San Francisco office.

PARTIES
4 ' Plaintiff SCRIPSAl\/IERICA, INC. (“SCRIPS”) is a corporation

incorporated under Delaware law With its principal place of business in
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Pennsylvania. Plaintiff, Which is in the business of distributing pharmaceuticals, is
a public company Whose stock is traded over-the-counter (“OTC”) as “SCRC.”

5 . Defendant IRONR]DGE GLOBAL PARTNERS LLC, Which does
business under the name IRONR.IDGE GLOBAL IV, LTD., (“IRONRIDGE”) is a
limited partnership existing under Delaware law With its principal place of business
in California.

6. JOl-]N KIRKLAND is a managing director and principal of
]RONRIDGE, and on information and belief is a resident of California and this
judicial district

7. BR,ENDAN O’NE]LL is also a managing director and principal of
IRONRIDGE and on information and belief is a resident of California.

8. DOES NOS. 1-5 are other entities or persons Who are responsible for
the breaches and/or Wrongs described herein.

FACTUAL ALLEGATIONS

9. IRONRIDGE is in the business of exploiting an exemption from the
registration requirements of the Securities Act of 1933, namely the section 3(a)(10)
“court approv ” exemption 15 U.S.C. §77c(a)(10), (“section 3(a)(10)”) exempts
B'om registration requirements securities issued “in exchange for” other
“outstanding securities, claims or property interests” so long as the fairness of the
exchange is “approved” after notice to interested parties “by any court. . ..” The
court approval exemption allows for the issuance of shares by an issuer to
IRONRIDGE Without registration, Which shares are immediately and freely
tradeable Without normally applicable restrictions such as a six-month holding
period.

10. In its dealings With Plaintiff, IRONR_IDGE used its business model as
part of a plan, scheme, and course of conduct Which Was intended to and did (1)
acquire shares in Plaintiff in a transaction induced by fraud; (2) make untrue

statements of material fact and omit to state material facts necessary to make its
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statements not misleading; (3) artificially deflate and manipulate the price of
Plaintiff’ s stock; and (4) engage in acts, practices and a course cf business which
operated as a fraud and deceit upon the Plaintiff (and others); all in violation of
Section lO(b) of the Securities Exchange Act and Rule 10b-5.

ll. lt was a part of the scheme to deh'aud and manipulate that
lRONR]I)GE, through its officers, directors and agents KIRKLAND and
O’NEILL, in several meetings and telephone calls in August and September of
2013, presented what was portrayed as an advantageous business deal to Robert
Schneiderman, Chief Executive Oflicer of Plaintiff. The first interaction between
the parties was a telephone call on August 28, 2013, in which KIRKLAND and
O’NE]LL explained to Mr. Schneiderman that ]RONRIDGE could pay off
Plaintiff’s accounts payable in exchange for stock of Plaintif`f. In return for
IRONR]I)GE’s satisfaction of certain bona fide debts ofPlaintiff, in the
approximate amount of $700,000, Plaintif`f would receive stock in Plaintiff, the
amount of stock being set by a contractual formula IRONRIDGE further
represented that under the IR.ONR]DGE arrangement the stock need not be
registered before it could be delivered to H{ONR]J)GE. In essence, this was a
means by which Plainti:t`t` could legally receive value in exchange for stock which
had never been registered Subsequent telephone calls occurred on September 4,
2013 and October 2, 2013 between Schneiderman, KIRKLAND and O’NEILL in
which the details of the arrangement were further explained

12. it was a part of the scheme to defraud and manipulate that in the
above~described telephone conversations With Plaintiff, IRONRIDGE (through
KIRKLAND and O’NEILL), requested, expressly and solely for its own protection
against downward falls in the price of Plaintiff’ s stock caused by exogenous market

forces, an adjustment mechanism. This mechanism provided that, in case of a fall
in the price of Plaintiff’s stock over a defined calculation period, lRONRIDGE

would receive more stock than the amount that would be required at the time of the
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inception of the exchange, and Plaintiff agreed to a potential “iinal adjustment” on
that basis. IRONRIDGE, KIRKLAND and O’NEILL did not disclose to Plaintiff
their intent to reduce the price of Plaintiff’ s stock through their own market
manipulation to increase the number of shares at Plaintiff’s expense. In so doing,
IRONRIDGE acted knowingly, willfully and with intent to deceive Plaintiff.

13. lt was a part of the scheme to defraud and manipulate that a term sheet
proposing a transaction of the general nature described above was provided to
Plaintiff by IRONRIDGE, on or about September 27, 2013, a true copy of which is
attached as Exhibit 1 hereto (the “Term Sheet”).

14. It was a part of the scheme to defraud and manipulate that
IRONRIDGE, which had previously and subsequently used its own name in emails
and on the Term Sheet, used the name of a purported separate entity, a limited
partnership called ]RONRIDGE GLOBAL IV, LTD, and its supposed division,
Ironridge BioPharma Co. Notably, lRONRIDGE’s Court filings do not recite any
state of incorporation or address for the supposed limited partnership This limited
partnership was a mere instrumentality of IRONR_LDGE, used in an attempt to
insulate IRONR.IDGE and its officers and agents nom responsibility for its
fraudulent and manipulative conduct and wrongdoing If such a limited partnership
entity as IRONR]I)GE GLOBAL IV, LTD. exists at all, the entity veil should be
pierced and ]RONRIDGE held responsible for the actions and wrongdoing of its
agents and instrumentality entities.

15. lt was a part of the scheme to defraud and manipulate that, in
discussions leading up to the drafting and entry into a binding agreement, agents of
lRONRIDGE, specifically K]RKLAND (Chief Operating Officer and principal of
IRONR]DGE) and O’NEILL, had further conversations with Mr. Scheiderman of
Plaintiff. One particularly important telephone call between the three occurred on
October 4, 2013. ln that telephone call, KIRKLAND and O’NEILL addressed the
potential effects that the sale of stock delisvered to IRONRIDGE could have on the

 

 

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price of Plaintiff" s stock by making the representation to Plaintiff that
IRONR.`[DGE, unlike others who had funded Plaintiff in return for stock, would
take no action to manipulate or effect Plaintiff’ s stock price, and that any sales that
might be necessary to fund the satisfaction of Plaintiff’s receivables would be made
in such a way that they would never be more than ten percent of the volume of sales
on any given day. These representations were knowingly and willfully false, and
made with intent to deceive Plaintiff.

16. lt was a part of the scheme to deh‘aud and manipulate that
IRONRIDGE, through its deceptive representations and fraudulent omissions,
obtained the agreement of Plaintiff to enter into such an arrangement and that
thereafter, on November 8, 2013, a stipulation and proposed order (approving the
stipulation) were presented to a state court judge in California. The order was
signed by the judge after reviewing the papers briefly in chambers The
stipulation/order provided for the immediate issuance and delivery of 8,690,000
shares of common stock in Plaintiff to [RONR[DGE. A true copy of the Califomia
court order, and underlying stipulation, approving the issuance of the stock to
IRONRIDGE is attached hereto as Exhibit 2. (Exhibit 2 is referred to hereafter as
the “Stipulation.”) Upon receipt of the court approval order, Plaintiff delivered the
stated number of shares to ]RONRIDGE.

17. [RONRH)GE’s scheme to deh‘aud and manipulate included a “bait and
switch.” While the Term Sheet contemplated only one potential “Final
Adjustment” that might provide additional shares to RONRIDGE, the Stipulation
included language (at paragraphs 7, 8 and 10) which IRONRIDGE would later
contend allowed IRONRIDGE multiple opporttmities to seek additional shares of
Plaintiff’ s stock.

18. It was a part of the scheme to defraud and manipulate that, contrary to
its repeated commitments to Plaintiff`, IRONRIDGE entered into a scheme of
selling Plaintif`f’s stock with the intent of §rtifrcially lowering the price of the

 

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security, and not for any legitimate economic reason.

19. lt was a part of the scheme to deh'aud and manipulate that
lRONRIDGE repeatedly sold Plaintiff’s stock in a volume exceeding ten percent of
all sales on many days. A chart of the volume of sales by lRONRlDGE, as a
percentage of all sales, is attached as Exhibit 3. As one example among many,
during the week of January 6, 2014, sales by lRONRlDGE represented 28.4% of
total sales; during the week of lanuary 21, 22.6%; throughout February 2014, from
30 to 50%; and a high of 57% during the week oprril 7, 2014.

20. lt was a part of the scheme to defraud and manipulate that
IRONRIDGE made these sales with the intent and purpose of manipulating the
market to reduce the price of Plaintiff’s stock for the purpose of increasing the
number of shares received by Defendant under its agreement with Plaintiff. The
sales by IRONRIDGE themselves had the tendency and effect of reducing prices of
Plaintiff"s stock.

21. lt was a part of the scheme to deh'aud and manipulate that
IRONRIDGE further knew and deliberately intended that its sales would send false
information as to supply and demand into the market, thus inducing other sales by
the general public at reduced prices, creating a further market distortion as to the
price for Plaintiff’ s shares, and ultimately further increasing the number of shares of
Plaintiff‘ s stock that would be received by [RONRDJGE. ]RONR]DGE was guilty
of manipulative conduct, i.e., knowing and willful conduct designed to deceive or
deh'aud investors by artificially affecting the price of a publicly-traded security.

22. lt was a fin‘ther part of the scheme to deh‘aud and manipulate that,
when Plaintiff questioned employees of lRONRIDGE about its sales ofPlaintiff’s
stock, based on the negative trend of stock value, lRONRIDGE refused to answer
the questions, stating that the subject was confidential

23. lt was a further part of the scheme to defraud and manipulate that
IRONRIDGE successfully reduced the mzrket price of Plaintiff, which had been in

 

 

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the range of 15 cents ($.15) on day of delivery of stock, to the range often cents
($.10) and below in April 2014. There was no economic basis for this reduction,
which was purely generated by the sales of Plaintiff’s stock by lRONRlDGE.
Indeed, absent illegal manipulation, Plaintiff"s stock price should have risen, given
myriad positive business developments for Plaintiff.

24. lt was a ii.trther part of the scheme to deh'aud and manipulate that
IRONRIDGE hoped and intended to increase the number of shares of Plaintiff’s
stock it obtained, through manipulation of the price of Plaintiff’s stock, and then
profit when the stock rose back to its
natural level, as justified by the economic reality of the company’s performance

25. lt was a further part of the scheme to defraud and manipulate that
IRONRIDGE intended by its manipulative actions to seek not the 8.7 million shares
of Plantiff’ s stock it had spoken of to Plaintiff, but more than 12 million shares.
IRONRIDGE, by invoking the so-called “adjustment” mechanism, has already
received 10.3 million of these shares, and is seeking a further 1.6 million shares
through the Califomia courts, and has indicated that it will seek even more in the
future.

26. lt was a part of the scheme to defraud and manipulate that
lRONRlDGE sold far more of Plaintiff’s stock than was necessary to fund the
payment of Plaintiff’ s receivables lRONRlDGE’s sales of 10,3 05,550 shares of
PlaintifF s stock led to proceeds of at least $l.2 million.

27. lt was a further part of the scheme to defraud that lRONRIDGE has
attempted to profit by its wrongs, its disregard of its commitments to Plaintiff, and
its bad faith actions.

28. The Plaintiff has given lRONRlDGE stock worth at least $1.4 million
in exchange for satisfaction of less than 3770,000 of debt

29. Plaintiff has been huther damaged by, among other things, the loss of

at least 1.6 million shares of its stock, wit§r the final number remaining

 

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undetermined

30. Plaintiff’ s conduct with respect to Defendant is part of a wider pattern
of illegal and deceptive activity. lndeed, Plaintiff has engaged in essentially the
same or similar wrongful conduct in connection with the stock of many other
companies The watchdog website “Scam lnformer” recently observed that “[t]he
destruction in stocks [IRONRIDGE] has completed transactions with makes the
devastation nom Hurricane lrene seem tame by comparison.”

31. Among the companies that have been victims of lRONRIDGE’s
schemes is Green Automotive Company, lnc., which is the subject of a similar
stipulation/order in a California state court action, under the Section 3(a)(10)
exemption lncredibly, lRONRlDGE actually seeks 6 billion shares in Green
Automotive, which is six times the company’s total capitalization That is a vivid
illustration of the absurdly deceptive, abusive and bad faith manner in which
lRONRlDGE has been obtaining and implementing the type of stipulation/ order at

issue here.

FIRST CAUSE OF ACTION ( 10b-5 HOLMNS)
32. Plaintiff incorporates, by reference, the allegations of paragraphs l
through 31 of` this Complaint.
33. The conduct of Defendants lRONRIDGE, KIRKLAND and O’NEILL
violates SEC Rule 10b-5 (promulgated under the Securities Exchange Act of 1934).
34. Defendants individually and in concert used directly and indirectly the

 

means and instrumentalities of interest commerce, the mails and/or interstate wires
in connection with their scheme to defraud and manipulate as set forth above.

35. The Defendants each employed devices, schemes and artifices to defraud
and to manipulate PlaintifF s stock price, made untrue statements of material fact,
and omitted to state material facts necessary to make their statements not

misleading, and engaged in acts, practices and a course of business that operated as
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a naud and deceit upon the Plaintiff

36. Each of the Defendants was a primary participant in the wrongful and
illegal conduct

37. Each of the defendants acted with intent to deceive, manipulate and
defraud the Plaintiff Defendants acted with actual knowledge, or at a minimum
severe recklessness that the omissions and statements referenced herein were false
and misleading, and that the failure to disclose material facts and make accurate
representations as to their actual and intended plans and trading induced Plaintiff to
do business with lRONRIDGE and to issue stock to lRONRlDGE.

38. K[RKLAND and O’NEILL are also persons in control of Defendant
IRONRIDGE under Section 20(a) of the Securities and Exchange Act. Each has
been a high level l\/lanaging Director and executive of Defendant IRONRIDGE at
all relevant times lndeed, they represent two of the three total Managing Directors
identified on the lRONRIDGE web site. Further, each Was Well aware of and
participated intimately in the misrepresentations and wrongful omissions made to
Plaintiff in the course of negotiations and each has participated in and ratified the
manipulation of the Plaintiff s stock as alleged herein.

39. At the time of the misrepresentations and omissions alleged herein,
Plaintiff believed all statements and assurances made by Defendants were true and
was unaware of any of the omitted facts, such as the Defendants’ intent to
manipulate Plaintiff s stock as alleged herein. Had Plaintiff known the true facts,
Plaintiff would never have entered into the Section 3(a)(10) arrangement with
Defendant IRONRIDGE.

40. As a direct and proximate result of the wrongful conduct of the
Defendants, Plaintiff suffered damages and is consequently entitled to all relief

available under the Securities Exchange Act, including compensatory damages
against each of the Defendants IRONRIDGE, KlRKLAND and O’NEILL, jointly

and severally, for all damages suffered as1 3 result of the Defendants’ wrongdoing,

 

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in an amount to be proven at trial, with interest thereon; the costs and expenses of
this action; and other relief which the Court may find just, appropriate or legally

warranted

SEQOND CAUSE OF ACTION §§REACH OF CONTRACT!

 

41. Plaintiff incorporates, by reference, the allegations of paragraphs l
through 40 of this Cornplaint.

42. IRONRIDGE’s conduct is a breach of the terms of the agreement
between SCRIPS and ]RONRIDGE, which was premised on the understanding that
]RONRIDGE would not engage in conduct designed to depress artificially the price
of SCRIPS’ stock, as reflected in paragraph 14 of the Stipulation (Exhibit 2) and
the “No Shorting” provision on page 2 of the Term Sheet (Exhibit 1).
IRONRIDGE’s breach has adversely affected SCR]PS’ share value and has caused
SCRIPS to issue excessive amounts of stock to lRONR.IDGE under the
ST]PULATION.

THIRD CAUSE OF ACTION (TORTIOUS BAD FAITH)

43. Plaintiff incorporates, by reference, the allegations of paragraphs l
through 42 of this Complaint.

44. IRONRIDGE’s conduct is a tortious breach of the covenant of good
faith and fair dealing implied in every contract in California. IRONRIDGE
engaged in manipulative trading activity designed to depress artificially the value of
SCRIPS’ stock and thereby yield grossly unfair levels of share issuances under the
Stipulation. This conduct was in violation of past representations that
IRONRTDGE would not engage in such activity, and was at odds with the
understanding, reflected in the Term Sheet and the Stipulation, that lRON`RIDGE

 

 

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would not engage in trading activity designed to depress stock price. This conduct
was part of a malicious, oppressive, and fraudulent scheme to game the Stipulation
in such a way as to inflict financial harm on SCR[PS to such a degree as to
undermine and frustrate the essential purpose of the Stipulation (h'om SCRIPS’
perspective), in order to produce grossly excessive and unconscionable levels of
profit for IRONRIDGE.

FOURTH CAUSE OF ACTION (QECLARATORY RELIEFL

45 . Plaintiff incorporates, by reference, the allegations of paragraphs 1
through 44 of this Complaint.

46. IRONRIDGE continues to make demand under the Stipulation for
issuance of additional shares to it. SCRIPS has refused the latest such demand
SCRIPS requests that the Court declare that it has no obligation to meet such
demands because SCRIPS is excused nom performing under the Stipulation due to
lRONR]I)GE’s illegal conduct, breach of the Stipulation, and tortious bad faith.

PRAYER FOR RELIEF

Wl-IE`,REFORE, Plaintiff prays for judgment as follows:

1. That the Court award compensatory damages according to proof;

2. That the Court award attorney’s fees;

3. That the Court award costs of suit;

4. That the Court award punitive damages on account of lRONRlDGE’s
tortious bad faith, which either constitutes fraud or was accompanied by malice,

oppression or fraud;

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5. That the Court declare the rights and obligations of the parties as
requested in Cause of Action No. 4; and

6. That the Court award such other and further relief as the Court deems

a //%\

Carlos E. Needham
Arz‘orne or Plainti]_ff
SCRIP RICA, lNC.

just and proper.

Dated: May 22, 2014

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SUPERIOR COURT GF `I`HE STATE OF CALIFORNIA
FOR ‘THE COUNTY OF LOS ANGELES
CEN'I`RAL DISTRICT

IRONRB)GB GLOBAL N, LTD., Case No.: BC524230

Plaintif{", Assigned for All Purpeses to:
Hon. Rolf M. Treu

LRR:;I){RQSED]G%RDER FOR ION
APP ovAL sTIPULAT FoR
SCRIPSAMERICA, i`NC., sETTLELmNT oF emst

Defendant Date: November {_}§, 2013
'I`ime: 8:30 a.m.

Dept: 58

‘I`rial Date: None

 

 

'I'he Joint Ex Parfe Application for Court Approval of Stipulated Settlemeni
("Apglication"), filed by Plaintiff Ironridge Global IV, Ltd, ("M‘) and ScripsAmerica, lnc.,
("Defendant"}, came on for hearing on November 08, 2013 at 8:30 am in Deparfment 58 of the
above-entitled court, the Honorable Rolf M. T:‘eu., Judge presiding

'Hze Court having considered the Applieation and supporting papers, the oral arguments of
counsel, having been presented with a Stipulalion for Settiement of Ciaims ("Stipulanon"}, and

good cause appearing therefor,

1
[PR.OPOSED] ORDER FOR APPROYAL OF STIPULATION FOR SE‘I`TLEMENT OF CLAIMS

 

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1. The Stipulation, attached hereto as EXhihit A and incoiporated herein by reference5
is approved in its entirety;

2. Plaintiff owns bona fide outstanding claims against Defendant, and the terms and
conditions of the issuance and exchange of such claims for free-trading shares of common stock of
Defendant, as set forth in the Stipulation, are approved after a hearing upon the fairness of such
tenns and conditions at which Piaintifi`, the only person to whom it is proposed to issue securities
in such exchange, had the right to appear; wimm_g 1" pt {,€

3. 'I`he above-entitled action is dismis&\n its eli§nety; provided that the Court shall
retain jurisdiction to enforce the terms of this Order by a motion under Calit`ornia Code of Civil

 

 

 

 

Procedure Section 664.6.

IT IS SO ORDERED.

R‘€.?LF- M.`TREU
DATED: Novemberz 2013
lodge of the Superior Court
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[PROPGSED] ORDER FOR APPROVAL OF STlPULATION FOR SETILEMBNT OF CLAIMS
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4 6427 West Sn:nset Bouievard
5 Hoilywocd, CA 90028
P (323) 306-38?0; F (323) 306-3874
6
Attomeys for Plainti&'
7 iRONRIDGE GLOBAL IV, I..TD.
3 The Law 0ffice of Carlos E. Needham
9 Catios E. Needham (SBN 202777)
cneeth@eedhamiegal.com
m 28494 Westinghouse Piace, Suite 213
Valencia, CA 9 135 5
11 P (661) 843~6175; F (661) 430-5595
12 Attorney for Defendant
13 SCRIPSAMERICA, INC.
14 SUPERIOR COURT OF THE STA'I`E OF CAI..IFORNIA
15 son THE coUNTY on Los ANGELBS
15 cENTRAL msch
17 IRONRIDGB GLOBAL N, LTD, case Ne= 30524230"
1 3 Plaintif£ Assigned for All Pumoses to:
19 Hen. R.olfM. Treu
V.
2 STIPULATION FOR SETTLEMENT OF
0 scmPsAs/';ERICA, mc., claims
zf Defendant. Date: November OS, 2013
2 ’I`ime: 8:30 am
2 nepa ss
23 Trial Date: None Set
24
25 Plaintiff manage olebel rv, ma ("Pieinsn") ana defendant seripnmenea, lee
25 ("Det`endsnt"), hereby stipulate to the facts tenns, and conditions contained in the I_`Proposed]
27 ' '
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Order Approving Stipulation for Settlement of Claims (”_O_U") submitted herewith and
incorporated herein by this reference and timber stipulate and agree as follower

1. Plaintiff and Defendant request that this Court enter an order snbstarnially in the
form of the concurrently filed proposed Order.

2. Plaintiff owns bona tide claims ("Claims“) against Defendant in the aggregate

 

amount of $686,962.08 ("Claim Amount"), plus interest and attorneys’ fecs. Defendant has not
paid the amount due on the Clairns. Plaintiff filed the above»captioned collection action, which
the parties now seek to settle by this Stipulation and the proposed Orcler.

3. Defendant is a public company, and desires to settle the Clalms in exchange for the
issuance to Plaintiff of unrestricted and tieer tradable exempted shares of Defendant’s common
stock ("Coznrnon Stocl<"}. Plaintiff desires to accept such shares in accordance with the tenns of
this Stipulation, subject to court approval following a hearing as envisioned by Section
2501?{5(§) ofthe California Corporaticns Code, and Section S(a)(l 0) of the federal Securities Act
of 1933, as amended ("Securities Actl’).

4. Plaintiff has agreed to the proposed settlement terms and conditions and believes
that they are sufficiently fair such that Plainti&` is willing to enter into this Stipulaticn.
Defendant’s heard cf directors has considered the proposed transaction and has resolved that its
terms and conditions are fair to, and in the best interests of, Defendant and its stockholders
Accordingly, both parties request Court approval of the settlement provided for herein as fair, just
and reasonable The parties submit this Stipulation to the Court on ex parte application, and
request that the Court enter an Order approving this Stipulation following the hearing hereon. '

5. lt is the intent and effect of this Stipulation that the Order, when signed, shail end,
finally and forever any claim to payment or compensation that Plaintiff has against Defendant for
the Claims. Subject to entry of and compliance with the Order, each party hereby releases and
forever discharges the other party and its oHicers, directors, shareholders nilernhersa managers
representatives advisors, agents and attorneys, from any and all claims, liabilities5 obligations and

causes cf acticn, known and unknown, arising out of or related to the Clairns. Each party Waives

 

 

 

STIPULAT.[ON FOR SB'£TLEMENT OF CLAIMS

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ali rights conferred by Caiifomia Ciyil Code Section 1542 and any similar law. Section 1542
provides as follows "§1542 Gencral Release-Claim thinguished. A general release does not
extend to Claims which the creditor does not know or suspect to exist in his or her favor at the
time of executing the release, Which if known by him or her must have materially affected his or
her settlement vrith the debtor."

6. ln full and final settlement of the Claims, Defendant will issue and deliver to
Plaintiff the sum of8,690,000 shares of Cornrnon Stock ("Initial Issuance"), subject to the
subsequent adjusonents, issuances, returns, and ownership limitations set forth in this Stipulation.
No later than the trading day after entry of the Order or any request by PlaintiH`, time being of the
essence, Defendant shall take and came to be taken all action necessary to complete the

` transactions contemplated hereby, including, but not limited to: (a) deliver to Defendant’s transfer

agent (i) a copy of the Order, (ii) an irrevocable and unconditional instruction, in form and
substance acceptable to Plaintiffand the transfer agent, to reserve for and issue to Plaintiff all
shares of Cornmon Stock required by the Order, and (iii) opinions of Defendant’s counsel, in form
and substance acceptable to Plaintiff and the transfer agent, that all shares of Contnaon Stoclc to be
issued pursuant to the Order (A} are legally issued, iiilly paid and non-assessable, (B) when issued
in accordance with the Order will be unrestricted freely tradable and exempted from the
registration requirements under the Securities Act, and (C) may be issued without restrictive
legend and immediately resold by PlainttEt` without resniction; (b) issue the Initial lssuance, as a
certificate bearing no restrictive legend, and immediately facilitate conversion into Direct
Registration System (DRS) shares to Plaintift’s balance account with 'l`he Depository ’l`rust
Company (DTC) or the DeposithithdraWa! Agent Comrnission (DWAC) system, without any
restriction on transfer or resale; and (o) execution and deliver all further instruments and
documents as may be reasonably requested by Plaintiff The issuance of a certificate alone shall
not constitute completion of the Initial Issuance. The trading day alter the initial lssnanoe is
complete and all shares have been received into Plaintiff s account in electronic form and fully

cleared for trading Sha.ll be referred to as the "Issuance Dare."

 

STIPULATION FOR SB’§'I`LEMENT OP CLAIMS

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7. The period from the date of this Stipulation until that number of consecutive
trading days following the Issuance Date required for the aggregate trading volume of the
Common Stock between 9:30:00 a.m. and 4:00:00 pin Eastern, i.e. excluding after hours trades, to
exceed $’? million shall be referred to as the "Calcuiation Period". ‘I`he iinal number of shares of
Common Stock to which Plaintiff will be entitled under the Order ("Final Amount") will be that
number of shares with an aggregate value equal to (a) the sum of the Claim Amount, 10% third
party agent fees, plus reasonable attorney fees and expenses, (b) divided by 80% of the foilowing:
the closing price ofthe Common Stock on the trading day immediater preceding the date of entry
of the Order, not to exceed the arithmetic average of the individual volv.une weighted average
prices of any five trading days during the Calculation Perlod, less $D.Ol per share; all as reported
by the Bloomberg Proi`essional service of Bloomberg LP ("Bloombe;g"),

8. If at any time during the Calculation Period the shares issued to Plaintiff are less
than any reasonably possible Finai Amount or a closing price is below SO% of the closing price on
the trading day before entry of the Order, Plainti&` may request that Defendant reserve auditor issue
additional shares of Comrnon Stoclc (each, an "Additional lssuance"} Within one trading day, time
being ofthe essence, and Defendant’s transfer agents, attorneys, officers and directors, including
without limitation Robert Schneiderman and .Teffrey J. Andrews, shall immediately take ali actions
necessary to do so. For each day after Plaintiff requests issuance that shares are not, for any
reason, received into Plainti'Et"s account in electronic form and iile cleared for trading, the trading
volume during such time shall not comrt toward aggregate trading volume and the Calculation
Period shall he extended by one trading day.

9. Under no circumstances shall Defendant issue to Plaintiff at any one time a number
of shares which, When aggregated with all shares of Comrnon Stock then benelicially owned or
controlled by Plaintiffor its affiliatesg at such time exceed 9.99% of the total number of shares of
Cornmon Stock outstanding after such issuance

10. At the end ofthe Calculation Period, (a) if the sum of the Initial Issuance and any
Additional Issuances is less than the Final Amount, Defendant shall issue additional shares of

 

STIPULA'HON FOR SE’;TLEMENT OF CLAIMS

 

 

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Cornrnon Stock to Plaintii:"c'as soon as possible, up to the Final Amount, and (b) if the sum of the
burial Issuance and any Additlonal Issuance is greater than the Final Amount, Plaintiff shall
promptly return any remaining shares to Defendant or its transfer agent for cancellation, ("Final
Adjnsnnent"). `

ll. Defendant represents, Wairants and covenants as follows: (a) there are 155,000,000
authorized shares of Connnon Stoclc of Defendant, of which 78,23 8,653 are issued and
outstanding and 34,265,051 authorized unissued and unreserved shares available for reservation
and issuance to Plaintid`; (b) the shares of Cornnion Stocl< to be issued pursuant to the Order are (i)
duly authorized, and will be validly and legally issued, fully paid and non-assessable, free and
clear of all liens, encumbrances and preemptive and similar rights, (ii) unresu:icbed, freely tradable
and exempted from registration under the Securities Aet, (iii) issuable udthout any restrictive
legend, and (iv) may be immediately resold by Plaintiff without restriction; (c) Defendant has
reserved and will continue to reserve all shares of Connnon Stock that could be issued to Plaintiff
pursuant to the terms of the Order, and if at any time it appears reasonably possible that there may
be insuilicient authorized or reserved shares to fully comply with the Order, Defendant shall take
all action required to immediately reserve thrice the number of shares that could be issued
pursuant to the terms of the Order based on the lowest closing price within the Calculation Period,
including without limitation increasing its authorized shares so as to ensure its ability to timely
comply with the Order, and Defendant will not reserve, issue or transfer any shares of Common
Stock to any other person unless and until su&icient shares have been irrevocably reserved for
Plaintifl`; (d) Defendmit has all necessary power and authority to execute, deliver and perform all
of its obligations under this Stipulation and the Order, the execution, delivery and performance of
which have been duly authorized by all requisite action on the part of Defendant, including
without limitation approval by its board of directors; (e) this Stipulation has been duly executed
and delivered by Defendant, and is fully enforceable against Defendant in accordance with its
terms, and the Stipulation and Order Will not (i) conflict with, violate, or cause a breach or default

under any agreement to which Defendant is a party, or (ii) require any waiver, consent, or other

 

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action of Defendant or any other person; (i} Defendant waives, without lirnitation, any agreement
related to the Claims requiring payments to be applied in a certain tirne, order, manner, or fashion,
or providing for jurisdiction or venue in any court other than this Court; (g) neither Plaintiff nor
any of the creditors from Whom Plaintiff acquired the Claims, nor any of their affiliates (i) is or
was an officer, director, 10% shareholder, control person, or aiiiliate of Defendant within the last
90 days, or (ii) has or will, directly or indirectly, receive or provide any consideration in exchange
for selling or satisfying the Claims, other than pursuant to this Stipulation; (h) Defendant
understands that the issuance of shares as required by the Order may have a dilutch effect which
may be substantial; (i) neither Defendant nor any of Defendant’s a:Hiliates or agents has or will
provide Plaintiff With any material non-public information regarding Defendant or its securities;
G) Plaintiff has no obligation of coufidentiality, and may sell any of its shares of Defendant’s
common stock issued pursuant to the Order at any time, including without limitation throughout
the Calculation Period; and (lc) with respect to this Stipulation and the transactions contemplated
hereby (i) Plaintiff is acting solely in an arm’s length capacity, (ii) Plaintiff does not make or has
not made any representations cr warranties other than those specifically set forth herein, (iii}
Defendant’s obligations under the Order are unconditional and absolute and not subject to any
right of set oii`, counterclaim, delay or reduction, regardless of any claim Defendant may have
against Plaintift`, (iv) Plaintiff has not and is not acting as a legal, fmancial, accounting or tax
advisor to Defendant, or agent or fiduciary of Defendant, or in any similar capacity, and (v) any
statement made by Plaintiff or any of PlaintiH’s representatives, agents or attorneys is not advice
or a recommendation to Defendant '

12. For so long as Plaintiff or any of its affiliates holds any shares of Comnton Stoclc,
neither Plaintiff nor any of its affiliates shall: (a) vote any shares of Comrnon Stocic owned or
controlled by it, exercise any dissenter’s rights, execute or solicit any proxies or seek to advise or
influence any person with respect to any noting securities of Defendant; or (b) engage or
participate in any actions, plans or proposals that relate to or would result in (i) PlaintiH` or any of
its afdiiates acquiring additional securities of Defendmn, alone or together with any other person,

 

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which would result in Plaintiff ancl its affiliates collectiver beneficially owning or controlling or
being deemed to beneficially own or control, more than 9.99% of the total outstanding Corn.mon
Stock or other voting securities of Defendant at any one time, (ii) an extraordinary corporate
transaction such as a merger, reorganization or liquidation involving Defendant or any of its
suhsidiaries, (iii) a sale or transfer of a material amount of assets of Defendant or any of its
subsidiaries (iv) any change in the present board of directors or management of Defendant,
including anyr plans or proposals to change the number or tenn of directors or to fill any existing
vacancies on the board, (v) any material change in the present capitalization or dividend policy of
Defendant, (vi) any other material change in Defendant’s business or corporate structure, (Vii)
changes in Defendant’s charter, bylaws or instruments corresponding thereto or other actions
which may impede the acquisition of control ofDefendant by any person, (viii) causing a class of
securities of Defendant to be delisted from a national securities exchange or to cease to be
authorized to be quoted in an inter-dealer quotation system of a registered national securities
association, (ix) causing a class of equity securities ofDefendant to become eligible for
termination of registration pursuant to Section lz(g)(4) of the Securities Exchange Act of 1934, as
amended, or {x) taking any action, intention, plan or arrangement similar to any of those
enumerated above. The provisions of this paragraph may not be modified or waived without
further order of the Court.

13. Until at least one half of the total trading volume for the Celculation Period has
traded, Defendant shall not, directly or indirectly, (a) effect any split, reverse split or combination
of its Comrnon Stock, (b) issue any securities pursuant to a Fonn S-S registration statement, (c)
agree to, sell or issue any free trading Common Stock, or convertible or exchangeable note or
other security, (i) at an original issue discount, or (ii) subject or pursuant to any agreement, tenn or
provision, including 1critl'rout limitation any fee, discount, conversion, exchange exercise or other
prioe, that is based upon, may vary, or is subject to being changed or reset due to any aspect of the
market for the Comrnon Stock, mcinting without limitation trading price.

 

 

STIPULATION FOR SB';I`LEMENT OF CLAIMS

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14. Until at least 180 days aii'er the end ofthe Caiculation Period, (a) neither Plaintiff
nor any of its awiates shall (i) hold any short position in the Common Stock, or (ii) engage in or
eti`ect, directly or indirectiy, any short sale of the Common Stock; and {b) Defendant shall not,
directly or indirectiy, (i) enter into, effect alter or amend any exchange or transaction nnder,
pursuant to or in reliance upon any part of Section 3(a) of the Securities Act.

15. Defendant shall indemnify, defend`and hold Plaintiff and its a§lim% harmless
with respect to all claims, actions and proceedings arising out or related to this Stipnlation or the
Order, including without limitation, any claim or action brought derivatively or by any one or
more shareholders or creditors ofDefendant.

16 . The parties to this Stipulation represent that each of them has been advised as to the
terms and legal effect of this Stipulation and the Order provided for herein, and that the settlement
and compromise stated herein is final and conclusive forthwith subject to the conditions stated
herein, and each attorney represents that his or her client has freely consented to and authorized
this Stipulation after having been so advised

17. 'l`his Stipulation constitutes Defendant’s answer to the Complaint in this Action.
Each party hereto waives a statement ofdecision, all rights to appeai, and all defenses to the Order
and its enforcement including without limitation any based on jurisdictions standing or splitting
causes of action 'I`here shall be no third party beneficiaries with respect to this Stipulation or the
Order. The prevailing party in any proceeding required to enforce this Stipulation, the Order, or
any judgment or order issued thereon, shall be awarded reasonable attorney fees, costs and
expenses arising out of or relating tbereto. Except as expressly set forth herein, each party shall
bear its own attorneys’ fees, costs and expenses ’I`his Stipulation may be executed in counterparts
and transmitted by facsimile, in portable document format (pdt), or other electronic format, each
of which shall constitute an original and all of which together shall be deemed a single instrument
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STIPULA'I`ION FOR SB‘}S`TLENIBN’I` OF CLAIMS

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3 18. Upon emily ofthe Order approving this Stipulation, the Action shall be dismissed in

4 its entirety, with the Court retaining jurisdiction to enforce the terms of fha Stipula:icm and Ordea‘

5 by ex parte applicmijon, judgment motion or other proceeding unde: Section 664.6 ofthe

6 Califomia Code ofCivil Procedure.

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11 DATI-:D: Novonber ,2013 INCLTE LAW GROUP
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13 y Marx< A. vega
14 Mona Mahdara A!calé, Attomeys for Plaintiff
f 5 DATED: Novamber , 2013 SCRIPSAMERICA, I`NC.
15 By:
w Ro§)ert Schneidemmn, Cizief Bd;ecutive Officer
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19 lemey‘l. Andrews, ChiefFinanciaL O)‘lfioer
20 DA'I'BD: Novmeher , 2013 ’I`he Law OH'ice of Carios B. Needham
21 By: ,_
22 Carios B. Needham, Attomeys for Defendant
23 DATB:): November , 2013

. Robert Schneidznnan, individmify as to
34 Paragraph 8 only
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DATED: November , 2053 __,_____
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18. Upon entry of the Order approving this Stipulation, the Action shall be dismissed in
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by ex parte applicaiion, judgment, motion or other proceeding under Section 664.6 ofthe
California Code of Civil Procedure.

 

 

 

 

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Mona Mahdara Alcalé, Attomeys for Plaintiff
DATED: November , 2013 SCRIPSAMBRICA, INC.
By: __
Robert Schneiderman, Chief Executive Oflicer
By:
Jeffrey .I. Andrews, Chief Financial Officer
DATED: Novmeber , 2013 The Law Off'lce of Carlos B. Needham

 

By:__“
Carlos E. Needham, Attorneys for Defendant

DATED: November , 2013

 

Robert Schueiderman, individually as to
Paragu:aph 8 only

DATED: November , 2013

 

JeH`rey J. Andrews, individually as to
Paragraph 8 only

S'I`IPULATION FOR SE'}§`TLEMENT OF CLAIMS

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14 Mona Mahdam .-‘h.lcalé. rtlzorncys for Plaintiff
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ClV|L COVER SHEET

l. (a) PLA!NT|FFS ( Check box if you are representing yourseif [:] ] DEFENDANTS (Check box if you are representing yourself [:1)

IRONR|DGE GLOBAL LLC d/b/a lRONRI IDGE GLOBAL |V, LTD., JOHN KIRLAND,
SCR'PSAMER'CA' 'NC' BRENDAN o'NErLL and DoEs Nos.1-5
(b) County of Residence of First Listed Plaintiff Cou nty of Residence of First Listeci Defendant Los Ange|es
(EXCEPTIN U_§. PLAINHFFCASES) (iN U.$. PLAINT 1'FF CASES ONLY)
(c) Attorneys (Firm Name, Address and Teiephone Number) lf you are Attorneys (Firm Name, Address and Teiephone Number) lf you are
representing yourseif, provide the same information. representing yourseif, provide the same inforr'r‘.etionl

Car|os E. Needham, Needham Law Firm, A.P.C.
28494 Westinghouse P|ace, Suite 213
Va|encia, CA 91355

Ph: 661~843-6174

ll. BASIS OF JURISDICTION (Place an X in one box on]y,} lll. ClTIZENSHIP OF PRINCIFAL PART|ES-For DiV@rSlty CBSES OI'd[y
(P|ace an X' m one boxF for ple1nt1ff and one for defendant)

 

 

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1:1 3 m 3 Foreign Nation ['_"] 6 [] 6

2. U.S. Government 1:| 4. Diversity {|ndicete Citizenship Citizen or Subject of a
Defendant of Parties in ltem |1|) Foreign Country

 

 

IV. ORlG|N (Place an X in one box only.) 6 Mu|ti_
1. Original 2. Removed from 3. Remanded from 4. Reinstated or 5. Transferred from Another ' mgm-ct
proceeding l:] State Court |:| Appeiiete Court m Reopened [:! Dl$=l'l¢f (SP€‘-Cliy) m Litigation

 

v. REQuEs“rr-:D 1N compLAlN'r: JuRY oEMAND; ij res No (Checl<"Yes"onlyifdemandedin complaint-1

CLASS ACT|ON under F. R.CV.P. 23: f:| Yes XNO - -MONEY DEMANDED IN COMPLAINT: $
Vl. CAUSE OF ACTION (Cite the U S. Civi! Statute under wh1ch you are filing and write a brief statement of cause Do not clte jurrsd1ct1ona| statutes unless d1vers1ty )

Uuscé 361

V|l. NATURE OF SU|T {Piace an X 1r1 one box only).

 

  
    

           
          
         
    
 

    
  

       
 
 
  
 

     

 

 

 
       
   

 
 
  

 

    

 

 

 

 

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CV-Tl (11/13) CN|L COVER SHEET Page 1 of3

 

 

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ClVlL COVER SHEET

Vlll. VENUE: Youi' answers to the questions below will determine the division of the Court to which this case will most likely be initially assigned. This initial assignment
is subject to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

Question A: Was this case removed from
state court2

|:] Yes §| No m LosAngele_s Western

 

 

 

'f"iioi " 90 T° QU€STF°" B- |f"y‘~°-‘S»" Che€k the l___l V€ntura. Santa Barbara, or San Li.:is Obispo We$tem
box to the right that appiies, enter the
corresponding division in response to |_:] Orange Southern

Question D. below, and skip to Section lX.

 

m Hiverside or San Bernardino EBST@rn

 

 

 

 

   

Question B: is the United States, or one of “- `. '
its agencies or empioyees, a pa rtyto this `
action?

 

 

 

 

 

{"_'] Yes 13 No

ii "na. " go to Question C. lf"yes," check the [:] l_os Pingeies |:] Los Angeles Western

box to the r!gm that apF_°|Ies' ente'the Venti.irar Santa Barbarar or San Luis Ventu rar Santa Barbara, or San Luis

corresponding division in response to |:l Ob-,Spo \:3 Obispo W€$tem

Question D, beiow, and skip to Section IX.
[_`_| Orange |:[ Orange Sout|'iern
|:[ Riverside or San Bernardino il Riverside or San Bernardino Eastern
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indicate the location in which a
majority of plaintiffs reside:

l:i l:l

[d` h | ' ' h' h

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El E

 

 

indicate the location in which a
of claims arose:

 
 

 

 

 

 

 

  

C.1. ls either of the following true? lf so, check the one that applies: C.2. is either of the following true? lfso, check the one that applies:
[:| 2 or more answers in Coiumn C |:] 2 or more answers in Column D
m only i answer in Column C and no answers in Co|umn D |:| only 1 answer in Column D and no answers in Column C
Youir case will initially be assigned to the Your case will initially be assigned to the
SOUTHERN DlVlS|ON. EAS`I‘ERN DlViSlON.
Enter"Southei'n" in response to Question D, below. Enter "£astern" in response to Question D beiow.
if none appliesr answer question C2 to the right _} lf none applies, go to the box below. t

 

 

‘i'our case will initially be assigned to the
WESTERN D|V§SlON.
Enter l1Western" in response to Question D below.

 

 

 

 
   

Enter the initial division determined by Question A B or C above: §

WESTERN

 

 

 

CV~71 (11/13) CIVIL COVER SHEET Page 2 of3

 

 

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ClVlL COVER SHEET
lX(a). |DENTICAL CASES: Has this action been previously filed in this court end dismissed, remanded or closed? NO [:] YES
if yes, list case number{s}:
lX(b). RELATED CASES: Have any cases been previously filed in this court that are related to the present case? NO I:] YES

lf yes, list case number(s):

 

Civil cases are deemed related if a previously filed case and the present case:

(Check an boxes that apply) I:[ A. Arise from the same or closely related transactionsr happenings, or events; or

g B. Call for determination of the same or substantialiy related or similar questions of law and fact; or
m C For other reasons would entail substantial duplication of labor if heard by different,iudges; or

f:] D. involve the same patent, trademark or copyrightl and one ofthe factors identified above in a, b or c also is present.

/'\, /7/7 //'
x. sioNAruRE oi= AT'roRNEY w w
(OR SELF-REPRESENTED LlTlGANT) DATE: cg 62&/
Notice to CounsellParties:The C\i'~i"i (JS-44) Civii Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or

other papers as required by iaw. This form, approved bythe Judicial Conference of the United States in September 1974, is required pursuant to i_ocai Rule 3-‘! is not filed
but is used by the Cier|< of the Court for the purpose of statisticsr venue and initiating the civil docket Sheet. (For more detailed instructionsr see separate instructions sheet).

 

 

Key to Statistical codes relating to Socia| Security Cases:

Nature of Suit Code Abhreviation Substantive Statement of Cause of Action

All claims for health insurance benefits {Nledicare) under Title TS, Part A, of the Social Security Act, as amended. Also,

851 HlA include claims by hospitais, skiiled nursing facilitiesr etc., for certification as providers of services under the program.
{42. U.S.C. 1935FF(b]) .

862 BL Ali claims for r‘Blai:l< L.l.ing" benefits under 'l'itie 4, Part B, of the Federa| Can Mine |-iealth and Safety Act of 1969. (30 U.S.C.
923}

863 D|WC All claims filed byinsured workers for disability insurance benefits under Titie 2 of the Social Security Act, as amended; pius
ail claims Fileci for chiid's insurance benefits based on disability. (42 U.S.C. 405 (g))

863 DlWW Ail ciaims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.('_ 405 (g))
A|| claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as

864 SSID amended

865 RS| Al! claims for retirement (old age} and survivors benefits under Title 2 ofthe Social Security Act, as amended.

(42 U.S.C. 405 (g))

 

CV-?'l (11!13) ClVlL COVER SHEET Page 3 0f3

 

 

